Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 1 of 19 Page
U.S. Disticr Court
Middle District of Florida

PLAINTIFF EXHIBIT

 

INDEPENDENT CONTRACTOR AGREEME] | Etbit Nos AS
Case No.(p -1T-CY-AQO>(RI-Y|

NouVosive
Vv.

 

This Independent Contractor Agreement (“Agreement’’) datec
(“Effective Date”), by and between ABSOLUTE MEDICAL INC. .
(“Distributor”) and MILLER TIME MEDICAL, INC. (“Salesperso Absolute Medica

principal owner , an individual (“Principal Date Identified: TON 28 2018
Date Admitted: UN 2 8 2018

RECITALS

 

A. Distributor is engaged in the business of reprsang N=

 

 

corporation (“NuVasive”), a manufacturer of cervical, thoracic and |
supplies and similar items (“Medical Products”) in the sale of the Medical Products to
Distributor customers.

B. Salesperson is familiar with Distributor’s business and the lines of Medical
Products represented by Distributor.

CG. Salesperson desires to sell certain lines of the Medical Products represented by
Distributor, and Distributor desires to obtain the services of Salesperson, as an independent
contractor, to sell certain lines of the Medical Products represented by Distributor and to provide
related services.

NOW THEREFORE, in consideration of the foregoing recitals (each and all of which
constitute substantial and material provisions of this Agreement), the mutual covenants,
promises, and obligations herein contained, and for other good and valuable consideration, the
receipt and sufficiency of which are hereby acknowledged, Distributor and Salesperson hereby
agree as follows:

A, BASIC OBLIGATIONS OF PARTIES

La Services. Upon the terms, and subject to the conditions, contained in this
Agreement, Salesperson hereby agrees to represent Distributor in the solicitation of orders
(“Services”) from hospitals, clinics and other healthcare facilities, physicians, physician groups
and other healthcare providers (“Customers”) in the Assigned Territory (as defined in Section
1.2 hereof) with respect to the sale of certain Medical Products that are from time to time
assigned by Distributor to Salesperson (“Assigned Products”) for sale within the Assigned
Territory to those Customers and prospective Customers who and which are assigned to
Salesperson by Distributor (collectively, the “Assigned Customers”). Distributor hereby
reserves the right to change the Assigned Products, the Assigned Territory and/or the Assigned
Customers at any time for any reason or no reason. Salesperson shall not, directly or indirectly,
(i) advertise or promote any Assigned Products outside the Assigned Territory; (ii) solicit or
procure any orders for Assigned Products from outside the Assigned Territory; or (ili) otherwise
act as Distributor’s representative with respect to the Assigned Products outside the Assigned
Territory, without the prior written consent of Distributor. Salesperson’s authority is expressly

1556825.1
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 2 of 19 PageID 1303

limited to the solicitation of orders from Customers and prospective Customers and shall not
have any authority to bind Distributor or NuVasive.

1.2 Assigned Territory. For purposes of this Agreement, the term “Assigned
Territory” shall initially mean the territory described on Schedule A hereto. Salesperson shall
not solicit or procure any orders for any Medical Products any person, who or which is located
outside of the Assigned Territory or for use outside of the Assigned Territory, regardless of
whether or not such person or user is a Customer or prospective Customer of Distributor. The
Assigned Territory may be increased, decreased or realigned by Distributor from time to time
without prior notice to Salesperson and in Distributor’s sole and absolute discretion. Upon any
changes to the Assigned Territory, Distributor may amend Schedule A to this Agreement to
reflect the same without the consent of Salesperson.

13 Independent Contractor.

(a) The services of Salesperson established by this Agreement are to be
rendered as an independent contractors, and nothing contained in this Agreement shall be
construed to (i) give either Distributor the power to direct and control the day-to-day activities of
Salesperson, (ii) constitute the party as partners, joint venturers, co-owners or otherwise as
participants in a joint undertaking, or (iii) allow Salesperson to create or assume any obligation
on behalf of Distributor for any purpose whatsoever, and both Distributor and Salesperson
hereby stipulate and agree that Salesperson shall, for all purposes, be considered an independent
contractor. Salesperson shall not, directly or indirectly, serve or himself/herself/itself out to be a
servant or employee of Distributor or make any commitments or incur any liabilities on behalf of
Distributor, without first obtaining Distributor’s prior written consent which may be arbitrarily
given or withheld by Distributor in Distributor’s sole, absolute and unrestricted discretion.

(b) Salesperson shall not be deemed to be employed by Distributor for
purposes of the Federal Social Security Act or any federal or state law concerning employment,
compensation for employment services rendered or insurance for injuries sustained in the
performance of his services, and Salesperson shall be required to file all tax forms required of an
independent contractor and shall be solely responsible for the payment and reporting of any taxes
due on whatever remuneration is paid by Distributor to Salesperson hereunder.

(c) Salesperson shall procure and maintain all State, County and City (if
applicable) business licenses, at Salesperson’s sole cost.

(d) Salesperson shall fully comply with all laws, statutes, codes, ordinances,
regulations, rulings, requirements, orders, judgments and decrees of all federal, state, county,
municipal, and local governments, governmental agencies, quasi-governmental agencies, courts,
and other governmental authorities having jurisdiction and authority with respect to
Salesperson’s business.

(e) Salesperson shall conduct Salesperson’s affairs with the utmost integrity
in such manner as will maintain Distributor’s goodwill and reputation as a first-class provider of
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 3 of 19 PagelD 1304

services incident to the representation and sale of Medical Products.

( Salesperson shall not perform or administer any Services under the
influence of any illegal drug or alcohol and shall submit to a lab administered drug test
immediately upon the request of the Distributor.

(g) Salesperson is not entitled to, or eligible to receive, any employee benefits
provided by Distributor to its employees (if any) such as life and/or health insurance, sick leave,
paid vacation, retirement benefits or other fringe benefits.

(h) Salesperson shall have unilateral control over the manner in which the
Services herein contracted for are to be provided, and Distributor shall have no direct or implied
authority over the Salesperson’s work nor supervisory power over the procedures used by the
Salesperson other than to assure itself with regard to the Salesperson’s adherence to reasonable
standards for the conduct of the Services contracted for hereunder.

(1) Salesperson shall be under no obligation to devote any specific amount of
time or to perform services during any particular hours; it being understood that Salesperson may
devote as much or as little time as may be necessary to satisfy Salesperson’s obligations and may
perform services during such hours as may be reasonable appropriate under the circumstances,

(j) Salesperson represents and warrants that Salesperson possesses the skills
necessary to provide the services required pursuant to this Agreement and Distributor shall not
be required to provide any training whatsoever.

1.4 No Debarment. Salesperson represents and warrants that Salesperson has not
been debarred, suspended, excluded or otherwise declared ineligible under Section 306 of the
Federal Food, Drug and Cosmetic Act (as amended by the Generic Drug Enforcement Act of
1992), 21 U.S.C. § 336, and has not been listed on any applicable federal exclusion list including
the then-current: (a) HHS/OIG List of Excluded Individuals/Entities (available through the
Internet at http://www.oig.hhs.gov); (b) General Services Administration’s List of Parties
Excluded from Federal Programs (available through the Internet at http://www.epls.gov); and (c)
FDA Debarment List (available through the internet at
http://www. fda.gov/ora/compliance_ref/debar/).

1.5 Other Providers of Services. Nothing contained in this Agreement shall be
construed to restrict Distributor from entering into any agreement with any other person (whether
an employee, independent salesperson or otherwise) with respect to the sale of any of the
Medical Products, including, without limitation, agreements for the provision of services the
same as or similar to the Services, in the same geographic location in which Salesperson is to
provide Services.

1.6 Volume. Salesperson hereby acknowledges and agrees that Distributor makes no
representation or warranty whatsoever with respect to the volume of sales that Salesperson may

expect to realize from selling any of the Assigned Products.

1556825.1
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 4 of 19 PagelD 1305

1.7 Best Efforts. Salesperson agrees to devote Salesperson’s best efforts to the
provision of the Services.

1.8 Resolution of Conflicts Between Parties. Distributor shall have the exclusive
authority to resolve all disputes between Salesperson and any other salespersons or employees or
agents of Distributor. Salesperson hereby acknowledges and agrees that Distributor’s
determinations with respect to such disputes shall be final and binding on Salesperson.

2. COMPENSATION AND EXPENSES

2.1 Quota and Commission Plan. Distributor shall pay Salesperson compensation in
accordance with the quota and commission plan for Salesperson set forth on Schedule B hereto,
as may be amended or modified by Distributor from time to time. Distributor reserves the
unrestricted right to modify the quota and commission plan without prior notice to Salesperson
and in Distributor’s sole and absolute discretion. Distributor may amend Schedule B to this
Agreement to reflect any changes to the same without the consent of Salesperson.

2.2 Reimbursement of Expenses. Distributor will reimburse Salesperson for expenses
reasonably and necessarily incurred by Salesperson in providing the Services in accordance with
Distributor’s travel and expense reimbursement policy in effect at the time the expenses are
incurred, and subject to such substantiation as Distributor may require as a condition of such
reimbursement. Distributor reserves the unrestricted right to amend and modify its expense
reimbursement plan without notice to or the consent of Salesperson (see Schedule C).

3 TERM OF AGREEMENT

3.1 Term. This Agreement shall be effective beginning on and as of the Effective
Date and shall continue in effect through December 31, 2015 (the “Term”), unless sooner
terminated under the provisions of Section 7 hereof. Upon thirty (30) days written notice to
Salesperson prior to the expiration of the then current Term, Distributor shall have the option to
renew the Agreement for successive one (1) year terms with each such renewal constituting an
additional year in the Term.

3.2. Survival of Certain Obligations. Salesperson hereby agrees that, notwithstanding
the termination of this Agreement as provided herein, the restrictive covenants set forth in
Article 5 of this Agreement shall survive any such termination and remain in full force and
effect.

4. PERFORMANCE OF SERVICES

4.1 Conduct. If Salesperson is not an individual but is an entity such as a corporation
or limited-liability company, Salesperson shall cause its principal in the introductory paragraph
of this Agreement to provide all services on behalf of Salesperson; and all duties, responsibilities
and obligations of Salesperson shall apply with equal force to such person designated the same
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 5 of 19 PagelD 1306

as if such person were, in fact, the Salesperson and the Salesperson and such principal shall be
jointly and severally liable therefor. Whenever the term “Salesperson” is used in this
Agreement, it shall mean both the Salesperson and the Principal collectively, jointly and
severally. Salesperson hereby agrees to provide all Services in strict conformity with the highest
of moral and ethical standards to maintain and enhance Distributor’s reputation and goodwill and
to advance the business interests of Distributor generally. Specifically, without limiting the
generality of the preceding sentence, Salesperson shall not use or employ any improper means
which would constitute a tortuous interference with any contractual right or business expectancy
of any former employer of Salesperson.

4.2 No Restrictions. Salesperson hereby represents and warrants to Distributor that
Salesperson is not a party to, or otherwise bound by, any employment, sales agency or other
independent contractor agreement or relationship, or by any non-disclosure, non-circumvention,
non-competition non-solicitation, confidentiality or similar agreement or relationship with any
other person that could affect Salesperson’s performance under this Agreement or pose any
actual or potential conflict of interest, and Salesperson agrees not to enter into any such
agreement or relationship during the Term.

4.3 Place of Service. Salesperson shall be under no obligation to render services at or
from any particular location; it being recognized and understood that Salesperson may provide
services from Salesperson’s place of business or residence, the location of Distributor’s offices
or any other location as may be reasonably appropriate under the circumstances.

4.4 Compliance with Laws. Salesperson shall comply with all applicable federal,
state and local laws, regulations and ordinances, including, without limitation, (a) the Social
Security Act, (b) the Health Insurance Portability and Accounting Act of 1996, 42 U.S.C. §300
gg et seq and all regulations and guidelines promulgated thereunder (HIPPA), (c) all federal and
state health care anti-fraud, anti-kickback and abuse laws and (d) all rules and regulations of the
Federal Food and Drug Administration (FDA) and the Center for Medicare and Medicaid
Services (CMS). Without limiting the generality of the foregoing, Salesperson shall not, under
any circumstances, make any offer, payment or other inducement, whether directly or indirectly,
to induce the referral of business, the purchase, lease or order of any item or service, or the
recommending of the purchase, lease or order of any item or service.

4.5 Product Complaints. Salesperson shall immediately notify Distributor of any and
every customer complaint and every regulatory complaint of which Salesperson becomes aware
and shall perform any and all actions as may be reasonably necessary to ensure that all
information relevant to any such complaint is promptly communicated to Distributor to enable
Distributor to timely and fully investigate and monitor the same.

4.6 Marketing Representations. Salesperson shall not make any false or misleading
representation, warranty, guaranty, assurance or statement to any Assigned Customer or to any
other person regarding the Medical Products or about NuVasive competitors or competitor
products; and Salesperson shall not omit to state any material fact about the Medical Products or
about NuVasive competitors or competitor products that is necessary to make all statements

1556825,1
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 6 of 19 PagelID 1307

made not misleading. Salesperson shall not make any representation, warranty, assurance,
guaranty or statement with respect to the specifications, features or capabilities of any Medical
Products that is not entirely consistent with the promotional materials and other documentation
supplied by NuVasive with respect to such Medical Product. In this regard, Salesperson shall not
make any representation, warranty, guaranty or assurance that expands upon any manufacturer
limited warranty applicable to such Medical Product.

4.8 Training and Cooperation. Salesperson shall cooperate fully with Distributor in
all respects in the performance of Salesperson’s obligations pursuant to this Agreement including
participation in requested teleconference and meetings with NuVasive and including the
provision of sales targeting and sales forecasting information. If and to the extent that NuVasive
provides any special training regarding the use and operation of any of the Medical Products,
Salesperson shall attend such training whenever and as often as requested and directed by
Distributor.

4.9 Customer Quotes. Salesperson shall quote to Assigned Customers only those
prices, delivery schedules and other terms and conditions of sale that Distributor is authorized to
quote pursuant to its relationship with Nuvasive. Salesperson does not have any authority to offer
any price discount or make any delivery commitment or alter any terms or conditions of sale that
are not so authorized.

4.10 Notice of Changes. Salesperson shall promptly notify Distributor of any change
in the key personnel, organization or status of any Assigned Customer in the Assigned Territory.

5. RESTRICTIVE COVENANTS

| Third Party Information and Agreements. Salesperson hereby acknowledges and
agrees that Distributor has received, and in the future will receive, from NuVasive, Distributor’s
Customers and prospective Customers and other third persons information that is confidential
and/or proprietary and that is subject to a duty of Distributor to be maintained as confidential and
used only for the limited purpose(s) for which the same was disclosed to Distributor (“Third
Party Information”). During and following the Term, Salesperson shall hold all Third Party
Information in the strictest confidence and, except as may be required by law, shall not disclose
any Third Party Information to anyone (other than Distributor personnel who have a “need to
know” such information in connection with Distributor’s business) or use any Third Party
Information other than in the performance of Services to Distributor. In addition Salesperson
shall cooperate fully with, and provide the Services in accordance with the terms of agreements
that Distributor has entered, or may in the future enter into with third persons.

5.2 Confidential Information Defined. As used in this Agreement, “Confidential
Information” shall mean information furnished or disclosed by Distributor and/or NuVasive to
Salesperson in verbal or written form, including, without limitation, (a) all materials, trade
secrets, know-how, formulas, processes, contacts, ideas, strategies, inventions, data, network
configurations, computer programs, software and documentation, prototypes, methods, system
architecture, specifications, models, samples, designs, flow charts, drawings and other technical
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 7 of 19 PagelD 1308

information; and (b) all proprietary information of Distributor such as business and marketing
plans, contracts, proposals, pricing information and other financial and operational information,
customer lists and logs and all other non-public information, material or data relating to the
current and/or future business and/or operations of Distributor and/or NuVasive whether or not
the same is labeled as being confidential. To the extent not otherwise covered by (a) or (b)
above, Confidential Information shall also include all information concerning the business and
affairs of the Distributor and/or NuVasive or other materials that are furnished or disclosed by
Distributor and/or NuVasive to Salesperson and all notes, analyses, compilations, studies,
summaries and other material prepared by the Salesperson to the extent containing or based, in
whole or in part, upon any information included in the foregoing. Salesperson stipulates and
agrees that all such Confidential Information derives significant value from not being generally
known to, and not being readily ascertainable by, any other person; and, therefore, constitutes
trade secret information belonging to Distributor or NuVasive, as the case may be. Salesperson
has been informed and acknowledges that, the unauthorized taking and/or use of Confidential
Information that constitutes trade secrets could result in civil and/or criminal penalties.

5.3. Non-disclosure Obligation. Salesperson shall forever keep all Confidential
Information secret and strictly confidential and Salesperson shall not use, directly or indirectly
(through one or more affiliates or otherwise), any such Confidential Information except for the
limited purpose of providing the Services to Distributor. Unless and except to the limited extent
otherwise consented by Distributor (with respect to Distributor Confidential Information) or
NuVasive (with respect to NuVasive Confidential Information), which consent may be arbitrarily
given or withheld by Distributor or NuVasive, the case may be, for any reason or no reason,
Salesperson shall not disclose the Confidential Information to anyone other than personnel of
Distributor or NuVasive, as applicable, who have a “need to know” such information and shall
not remove from Distributor’s or NuVasive’s premises any records, documents or other data
containing Confidential Information. Salesperson agrees that upon the expiration of the Term or
earlier if requested by Distributor (which respect to Distributor Confidential Information) or
NuVasive (with respect to NuVasive Confidential Information), Salesperson shall promptly
deliver to Distributor and NuVasive, as applicable, all records, documents and other tangible
manifestations and electronic recordings of data containing Confidential Information, without
retention of any copies, and will promptly destroy all notes, extracts and analyses based upon or
containing any Confidential Information and shall certify, under penalties of perjury, such
destruction to Distributor and NuVasive, as applicable. Notwithstanding the return of such
Confidential Information and destruction of all copies thereof, all knowledge of Confidential
Information shall nevertheless continue to be kept secret confidential forever.

5.4 Non-Circumvention. During the Term and for twelve (12) months following the
Term, Salesperson shall not, in any manner, directly or indirectly (through one or more affiliates
or otherwise), circumvent, avoid, by-pass, obviate, limit, restrict, or otherwise interfere with,
Distributor’s interest or relationship with any of Distributor’s vendors, manufacturers,
distributors or other suppliers (including NuVasive), Distributor’s employees or independent
salespersons, Distributor’s Customers or prospective Customers, Distributor’s brokers, dealers,
shippers, financial institutions, technology owners or other persons who or which have a
business relationship with Distributor, or assist any other person in any such circumvention,

1556825.1
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 8 of 19 PagelID 1309

avoidance, by-pass, obviation, limitation, restriction or interference, or attempt to any of the
foregoing. Without limiting the generality of the preceding sentence, during the Term and for
twelve (12) months following the Term, Salesperson shall not, directly or indirectly (through one
or more affiliates or otherwise) (i) induce or attempt to induce, or assist any other person to
induce or attempt to induce, any supplier (including NuVasive), any Customer or prospective
Customer, or any other person in a business relationship with Distributor to discontinue or limit
its relationship with Distributor, (ii) induce or attempt to induce, or assist any other person to
induce or attempt to induce, any employee, agent or independent salesperson of Distributor to
discontinue or limit the relationship between Distributor and such person or, in any way,
otherwise interfere with any such relationship, or (iii) disparage Distributor, in any way or to any
extent.

5.5 Non-Competition. Salesperson acknowledges and agrees that the sale and
distribution of medical products such as, or similar to, the Medical Products handled by
Distributor is a highly competitive field and is largely dependent on the goodwill that a business
such as Distributor has created with its customers. Salesperson further stipulates and agrees that
it is reasonable to restrict Salesperson’s ability to compete with Distributor in this field not only
during the Term but also for a reasonable period following the Term. Therefore, during the
Term and for a twelve (12) month period following the Term, Salesperson shall not, in any
manner, directly or indirectly (through one or more affiliates or otherwise), alone or in
conjunction with any other person or entity, sell Competitive Products or own, manage, operate
or control or participate in the ownership, management, operation or control of, or become
associated, as an employee, director, officer, advisor, agent, consultant, principal, partner,
member or independent contractor with or lender to any business that is in competition with the
business of Distributor in (a) the Assigned Territory, (b) in any other locale in which Salesperson
conducted business activities on behalf of Distributor at any time during the twelve (12) month
period preceding the termination of Salesperson’s employment with Distributor, or (c) in any
other locale where Distributor or an agent or salesperson of Distributor has conducted business
activities at any time during the twelve (12) month period preceding the termination of
Salesperson’s employment with Distributor. For purposes of this Section, “Competitive
Products” means any goods, products or product lines that are directly or indirectly competitive
with the Medical Products sold by Distributor, including without limitation NuVasive Products.
For purposes of this Section, “NuVasive Products” means any goods, products, product lines or
services marketed, promoted or sold by NuVasive, whether directly or indirectly, (i) that
Distributor marketed, promoted, sold, or solicited sales of on behalf of NuVasive during the
Term, or (ii) with respect to which Salesperson at any time received or otherwise obtained or
learned NuVasive Confidential Information.

5.6 | Non-Solicitation. During the Term and for a twelve (12) month period following
the Term, Salesperson shall not, directly or indirectly (through one or more affiliates or
otherwise), alone or in conjunction with any other person or entity, canvas, solicit, or accept any
business or patronage from any Customer or prospective Customer of Distributor or any person
who or which is an affiliate of any Customer or prospective Customer of Distributor, such as an
affiliated hospital, clinic or healthcare facility, a member of a physician group, an affiliate of a
healthcare provider or otherwise.
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 9 of 19 PagelD 1310

5.7 Divisibility of Covenant Period. If any covenant contained in this Agreement is
held to be unreasonable, arbitrary or against public policy, such covenant shall be considered
divisible both as to time, geography and customers, such that each month within the specified
period shall be deemed a separate period of time, each customer a separate customer, and each
geographical area a separate geographical area resulting in an intended requirement that the
longest lesser time and largest lesser customer base and geographical area determined not to be
unreasonable, arbitrary or against public policy shall remain effective and be specifically
enforceable against the Salesperson.

5.8  Injunctive Relief and Specific Performance. Salesperson acknowledges and
agrees that (i) the Salesperson will have an important role in the development of the goodwill of
the Distributor and has and will establish and develop relationships and contacts with the
principal business relationships of the Distributor, (ii) the restrictions contained in this
Agreement are reasonable in scope and are necessary to protect the Distributor’s legitimate
interests in protecting its business, and (iii) any violation of the restrictions contained in this
Agreement will cause significant and irreparable harm to the Distributor for which the
Distributor has no adequate remedy at law. Salesperson hereby acknowledges and agrees that, if
Salesperson repudiates breaches or violates any of the restrictive covenants set forth in this
Article 5 or threatens or attempts to do so, Distributor will suffer immediate and irreparable harm
that will not be compensable by damages alone. In addition to, and not in limitation of, any
other right or remedy available at law or in equity (each and all of which are expressly reserved
by Distributor), Distributor shall be entitled to obtain temporary, preliminary and permanent
injunctive relief (mandatory and prohibitory) as well as specific performance and an equitable
accounting of, and constructive trust for, all profits or other benefits arising out of or related to
any such violation in a court of competent jurisdiction to prevent or restrain any actual or
threatened breach of, or to specifically enforce, any and all of the restrictive covenants contained
in this Article 5 by Salesperson or any person acting in concert therewith. For purposes of the
preceding sentence Salesperson hereby irrevocably and unconditionally consents to submit to the
exclusive jurisdiction and venue of the federal and/or state courts located in Hillsborough
County, Florida. Salesperson stipulates and agrees that no bond in excess of $150.00 shall be
required to be posted as a condition for the granting of any such relief. In connection with any
application for injunctive relief, Salesperson hereby waives the claim or defense that an adequate
remedy exists at law.

6. REPORTS TO DISTRIBUTOR

6.1 Business Plan. Prior to the beginning of any Term or successive Term hereunder,
Salesperson shall submit a business plan for the Services to be supplied to Distributor detailing
Salesperson’s sales goals and execution strategies for the coming year in a form acceptable to
Distributor in its sole discretion.

6.2 Weekly Reporting. Salesperson shall maintain a daily record of all Services
rendered hereunder. Salesperson shall keep all such records throughout the Term. Salesperson

shall prepare and submit to Distributor detailed written reports of Salesperson’s Services to

1556825,1
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 10 of 19 PagelD 1311

Distributor as often as Distributor may request, but not less than frequently than weekly on or
before each Thursday with each such report containing (i) a detailed listing of all accounts
serviced by Salesperson, (ii) the status of work in each account, (iii) reporting and summary of
purchase order volume and case coverage sheets, as well as open bids generated and their status.
Such reports shall further include weekly tracking forms outlining the case schedule for
Salesperson and the top five (5) sales focus items.

6.3. Physician Payments Sunshine Act. No later than the fifth (Sth) day of each
calendar month during the Term, Salesperson shall provide a report with all information of
Salesperson necessary to comply with the Physician Payments Sunshine Act, in form and
substance satisfactory to Distributor in its sole discretion.

6.4 Confidential. All of the records of Services and reports to Distributor shall be
considered Confidential Information and their handling and use are subject to, and shall be
governed by, Article 5 of this Agreement.

& TERMINATION

7.1 Termination in General. Either Salesperson or Distributor may arbitrarily
terminate the Term for any reason or no reason at any time by giving the other party fourteen
(14) days prior written notice of termination. No termination pursuant to this Section shall affect
the liability (by way of indemnification or otherwise) of any party on account of any breach of
representation or violation of any covenant set forth in this Agreement such as liability
attributable to a breach of Section 1.4 or liability resulting from a violation of Sections 4.1, 4.2,
4.4 or Article 5 of this Agreement.

7.2 Immediate Termination. Distributor may immediately terminate the Term,
without prior notice, upon a breach or violation of any of the provisions contained in Sections
1.3(f), 4.1, 4.2, 4.4 or Article 5 of this Agreement or upon the death or disability of Salesperson.
For purposes of this Section, disability shall mean the inability of Salesperson to perform the
essential duties of his/her position, due to illness, injury or other physical or mental capacity.

7.3. Surviving Obligations. Notwithstanding any termination of the Term, whether
pursuant to Section 7.1 or Section 7.2, no such termination shall affect any of the obligations that
survive the Term such as those set forth in Article 5 of this Agreement.

8. GENERAL PROVISIONS

8.1 Licenses. Distributor hereby grants Salesperson a non-exclusive, limited license
for the Term to use Distributor’s trademark, mission statement, and/or other materials
(“Distributor Marks”) in connection with the Services. Salesperson hereby stipulates and
agrees that the Distributor Marks are the exclusive property of Distributor and that Salesperson,
by reason of Agreement or otherwise, has not acquired, does not acquire, and will not acquire,
any right, title, interest, or estate in or to any of the Distributor Marks, whether relating to the
Medical Products or otherwise.
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 11 of 19 PagelD 1312

8.2 Waivers. The failure of any party to insist, in any one or more instances, upon
observance or performance of any provision of this Agreement shall not be construed as a waiver
of such provision, shall not constitute a relinquishment of such party’s right to thereafter require
observance and performance of such provision and shall not constitute a waiver of any other
right or remedy belonging to such party. The waiver of any breach of any provision of this
Agreement shall not be deemed to be, and shall not be construed as, a waiver of such provision
on account of, or with respect to, any other breach of the same or any other provision of this
Agreement. No provision of this Agreement shall be deemed to have been waived, unless such
waiver is in writing and signed by the party sought to be charged with a waiver of such
provision.

8.3 Entire Agreement. This Agreement, including information incorporated herein by
reference or attached hereto, sets forth all, and is intended by the parties to be an integration of
all, of the representations, promises, agreements and understandings among the parties. This
Agreement supersedes all prior and contemporaneous representations, promises, agreements and
understandings between the parties; and there are no representations, promises, agreements or
understandings, oral or written, express or implied, between the parties other than those which
are set forth or incorporated herein. In entering into this Agreement, neither party has relied
upon any statement of any person, any assumption, fact or any understanding of law (i) with
respect to the duration, extension, renewal or termination of this Agreement; (ii) with respect to
the relationship between the parties; or (iii) which, might change or modify any of the provisions
of this Agreement or prevent this Agreement from being effective.

8.4 Successors and Assigns. This Agreement is personal in its nature and Salesperson
shall not, without the express written consent of Distributor, assign or transfer this Agreement, or
any rights or obligations hereunder, and any attempted transfer or assignment by Salesperson in
violation of this section shall be null, void, and of no effect; provided, however, that the
provisions hereof shall inure to the benefit of, and be binding upon, each successor of
Distributor, whether by merger, consolidation, transfer of all or substantially all of Distributor’s
assets, or otherwise. Except as required by applicable law, no right to receive payments under
this Agreement shall be subject to anticipation, commutation, alienation, sale, assignment,
encumbrance, charge, pledge, or hypothecation or to exclusion, attachment, levy, or similar
process or assignment by operation of law and any voluntary or involuntary attempt to effect any
such action shall be null, void, and of no effect.

8.5 Severability: Enforceability. To the extent that it may effectively do so under
applicable law, each party hereto hereby waives any provision of law that would render any
provision of this Agreement invalid, void or unenforceable in any respect. If any term, provision,
covenant or restriction of this Agreement is held by a court of competent jurisdiction to be
invalid, void or unenforceable, the remainder of the terms, provisions, covenants and obligations
set forth herein shall remain in full force and effect and shall in no way be affected, impaired or
invalidated.

8.6 Counterparts. This Agreement may be executed in any number of counterparts

1556825.1

1]
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 12 of 19 PagelD 1313

and by the different parties on separate counterparts. Each such counterpart shall be deemed to
be an original, but all such counterparts shall together constitute one and the same agreement.
This Agreement shall be deemed to have been executed and delivered on the Effective Date.
This Agreement may be transmitted and signed by facsimile or by portable document format
(PDF). The effectiveness of any such documents and signatures shall, subject to applicable law,
have the same force and effect as manually-signed originals and shall be binding on all parties
hereto.

8.7 Notices.

(a) Manner of Delivery. Any notice or demand required or desired to be given to
any party pursuant to this Agreement shall be in writing and shall be validly served, given,
delivered or made if and only if (i) personally delivered (including delivery by a commercially-
recognized courier which provides service between the point-of-origin and the point-of-
destination); (ii) deposited in the United States mail, certified or registered, postage prepaid,
return receipt requested; or (iii) made by telecopied or electronic transmission. Service by
certified or registered mail shall be deemed made on the date actually received or the date on
which delivery is first attempted, whichever is sooner. Service by telecopier or electronic
transmission shall be deemed made upon the date of transmission; provided that transmission is
confirmed prior to 5:00 o’clock p.m. local time at the place of delivery on a business day or,
otherwise, on the first business day after transmission and provided further that a copy of such
notice or demand is also deposited in the United States mail, regular service, postage prepaid.

(b) Notices to Distributor. Any notice or demand to Distributor shall be
delivered to Absolute Medical, Inc., 382 Devon Place ,Heathrow, FL 32746.

(c) Notices to Salesperson. Any notice or demand to Salesperson shall be
delivered to 100 Maplewood Dr., Sanford, FL 32771.

(d) Changes of Addresses. Any party may change its address for the purpose
of receiving notices or demands by a written notice given to the other party in the manner
provided in this Section.

8.8 Governing Law: Jurisdiction. The laws of the State of Florida, as such laws have
been interpreted and applied by the courts of the State of Florida, shall govern the validity,
performance and enforcement of each and all of the provisions of this Agreement. Any
proceedings with respect to the performance or enforcement of this Agreement must be brought
in the state District Court for Hillsborough County, Florida, which is and shall be, vested with
exclusive jurisdiction.

8.9 Attorney Fees. In the event any action or proceeding is initiated by party to
enforce any provision of this Agreement by reason of any alleged breach or default, for a
declaration of rights or obligations or for any other remedy, the prevailing party shall be entitled
to recover such amounts as such party may have reasonably expended (including attorney fees)
in the prosecution or defense, as applicable, of such action or proceeding; and such amount shall

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Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 13 of 19 PagelD 1314

be included in any judgment or award rendered in such action or proceeding.

8.10 Construction. For purposes of interpreting this Agreement, the captions, numbers
and letters of the various articles, sections, subsections, paragraphs, subparagraphs and clauses
appearing in this Agreement are inserted only as a matter of convenience and do not, in any way,
define, limit, construe, or describe the scope or intent of such sections, subsections, paragraphs,
subparagraphs or clauses of this Agreement and shall not, in any way, be interpreted to affect any
of the provisions of this Agreement. The necessary grammatical changes required to make the
provisions of this Agreement apply in a plural or singular sense, where required, or to a
particular gender shall, in all instances, be assumed as though in each case fully expressed. In the
event there exists any obviously manifested clerical error in any provision of this Agreement
(such as the inclusion or omission of a word or words or an inaccurate section cross-reference
resulting from renumbering during the drafting process) the correction of such error shall be
assumed to the same extent as if, in each such instance, this Agreement were formally amended
to correct such error. Words such as “herein”, “hereof’, “hereby”, “herefrom” and
“hereunder”, when used in this Agreement shall refer to this Agreement as a whole unless a
specific provision of this Agreement is expressly identified. The word “person” shall mean any
individual, corporation, partnership, limited partnership, limited-liability company, trust, estate,
association or other entity, however denominated. Whenever the context so requires, the word
“party” shall mean and refer to only each of those persons identified in the introductory
paragraph of this Agreement. The word “affiliate” of a specified person shall mean any person
(i) that, directly or indirectly (through one or more intermediaries or otherwise), controls, is
controlled by, or under common control with such specified person; (ii) that is a shareholder,
director, officer, partner, member, manager, trustee, beneficiary or employee of either such
specified person or another person that constitutes an affiliate of such specified person; (iii) of
which either such specified person or another person that constitutes an affiliate of such specified
person is or serves as a shareholder, director, officer, partner, member, manager, trustee,
beneficiary or employee; (iv) in which such specified person has a financial interest, directly or
indirectly (as a lender or otherwise); or (v) who is a spouse, father, mother, son, daughter,
brother, sister, uncle, aunt, nephew or niece of such specified person or of any person described
in the preceding clauses (i), (ii), (iii) and/or (iv). The phrase “and/or” shall be construed both (i)
conjunctively to bring within the scope of the list of identified words connected with such
connective all identified words as if only the word “and”, by itself was used, and (ii)
disjunctively to refer only to each identified word as if only the word “or”, by itself, was used.
The word “including” when following any general statement, provision or language, shall not be
construed to limit such statement, provision or language to the specific items or matters set forth
immediately following such word or to similar items or matters, regardless whether or not non-
limiting language (such as words “without limitation”, or “but not limited to”, or words of
similar import) is used with reference thereto, but rather shall be deemed to refer to all other
items or matters that could reasonably fall within the broadest possible scope of such general
statement, provision or language. A “business day” shall mean any day which is not a Saturday,
Sunday or any day which is a legally-recognized holiday in the State of Florida.

 

8.11 Negotiation at Arms-Length. This Agreement has been negotiated fully between
the parties as an arms-length transaction. Both parties have had the opportunity to have this

1556825.1

13
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 14 of 19 PagelD 1315

Agreement reviewed by counsel. In the case of a dispute concerning the interpretation of any
provision of this Agreement, all parties are deemed to have drafted, chosen and selected the
language, and the doubtful language will not be interpreted or construed against any party.

8.11 Third Party Beneficiary. Section 4.4 and Article V of this Agreement are for the
benefit of not only Distributor but also NuVasive and, without limiting Distributor’s right, in any

way, NuVasive shall have the right, power and authority to enforce such provisions as though it
were a party hereto. As such, NuVasive is an express third party beneficiary to this Agreement.

[Signature page follows]

14
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 15 of 19 PagelD 1316

Irrespective of the date on which any person actually signs this Agreement, this
Agreement is being signed to take effect on and as of the Effective Date set forth in the

introductory paragraph.

ABSOLUTE MEDICAL, INC.

By:

 

Greg Soufleris, President

 

By:

 

Print Name:

 

Title:

 

1556825.1
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 16 of 19 PagelD 1317

SCHEDULE A

ASSIGNED TERRITORY

 

Lake County
Seminole County
Orange County
Volusia
Osceola County
Brevard County
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18

SCHEDULE B

QUOTA & COMMISSION PLAN

Flat 3/5 MIX 4/5 MIX 5/5 MIX
| Miller | 8% | 05% [| ™% | 15% = |

 

 

McBride- 4% IOS until June 30th 2016

Page 17 of 19 PagelD 1318

*Mix bonus-Percentages are paid from $1 on dollars in each product category over

quota less current quarter's biologics and medical device tax totals.
*Overall monthly PTQ must be at 100% or greater to qualify.

* Osteocel- If Osteocel is brought in on a case by case basis or not purchased by the hospital
prior to case, there will be a 20% commission deduction or receive 6% commission points.

2016 Quota - $1,163,849.00

17

1556825.1
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 18 of 19 PagelD 1319

SCHEDULE C
EXPENSES

(Expense Burden)

° MVP/VSP: 50% expenses on hotel, flight and HCP meal

° Industry Meetings: 50% one time; on hotel and HCP meal

° SR responsible for 100% of HCP breakfast, lunch & dinner meetings

° SR responsible for 50% surgeon education/PSP events

° SR responsible for 100% of vendor credentialing fees

° SR responsible for 50% of DP funded HCP events.

° SR responsible for 100% of all asset management fines if rep falls below 90% on

asset measure or late loaner
° SR responsible for 0% of FSR/ASR cost share until June 30th 2016

*Additional exceptions may be granted with prior approval as well as additional responsibilities
may be added. Individual circumstances may be overridden by Distributor Principal approval.
*Expenses will be paid once Absolute Medical Expense Report is properly filled out and
submitted.
Case 6:17-cv-02206-CEM-GJK Document 85-22 Filed 06/28/18 Page 19 of 19 PageID 1320

 
